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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                                        Case No: 18-44427


BRIAN COHEN                                                             Chapter 7
a/k/a BRIAN J. COHEN


                          Debtor
-------------------------------------------------------X



              APPLICATION FOR AN ORDER PURSUANT TO BANKRUPTCY
               CODE §363 AUTHORIZING THE SALE OF REAL PROPERTY

TO:     The Hon. Carla E. Craig
        U.S. Bankruptcy Judge


        The   application of Brian     Cohen     (the "Debtor") respectfully sets forth    and represents that:


        1.       On July   31, 2018, the Debtor filed a Petition under Chapter             7 of Title   11   of the


                 United States Code (the "Bankruptcy Code"), with the Clerk of the United States


                 Bankruptcy Court for the Eastern District of New York.


        2.       Lori Lapin Jones      is   the Chapter 7 Trustee    on this case.

        3.       Included in the Debtor’s assets was the real property, jointly owned with his ex-wife


                 Lori Peskin-Cohen, located at 20 Koenig Drive, Oyster Bay, New York 11771.                    The

                 Debtor does not reside in         this property.     As of the   filing date the property     was

                 encumbered by amortgage held by Mr. Cooper ("Cooper”) in the outstanding amount

                 of $917,847.12.

        4.       On or about July 2018 the Debtor entered into a contract to short sell the property for

                 $850,000.00 to a third party in an arms length transaction. (Annexed hereto as


                 Exhibit "A”    is   a copy of the contract of sale).     A copy of a recent appraisal is also

                 annexed hereto as Exhibit "B".            It   indicates a value as of   September   2,   2018 of
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                 $ 1 ,05 0,000.00. The Debtor’s ex-wife is a 50% owner ofthe property and also resides


                 there, so, there is   no equity for the Debtor’s interest.


         6.      The Debtor       will not receive    any proceeds from the transaction, but         all   of the


                 transaction fees will be paid from the net proceeds and/or his ex-wife.


         7.      It is   submitted that the sale of the Debtor’s real property is in the best interest of the


                 Debtor and his creditors because the Debtor is short selling the real property through


                 an arms length transaction. As a result of the sale, the Debtor will be released of his


                 obligations to maintain the property and have his name removed from ownership and


                 the attendant responsibilities and obligations.


         WHEREFORE, it is respectfullyrequested that the Court enter an order authorizing the short

sale   of the real property and authorizing the Debtor to execute any such documents and take such


steps that are necessary to effectuate the sale     of the   real property, together with   such other, further


and different relief as this Court deems just, proper and        equitable.


Dated: Syosset, New York
                                                                   /
         September 12, 2018                         Respectful ’7zlbmitted,l




                                                    By: Gary C. Fischoff      sq.

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